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          In the United States Court of Federal Claims
                                        No. 20-824C

                                (E-Filed: February 3, 2021)

                                            )
 DAVID PASCHANE, et al.,                    )
                                            )
               Plaintiffs,                  )
                                            )
 v.                                         )
                                            )
 THE UNITED STATES,                         )
                                            )
               Defendant.                   )
                                            )

                                 ORDER OF DISMISSAL

       On October 8, 2020, defendant filed a motion to dismiss plaintiffs’ complaint,
pursuant to Rule 12(b)(1) and (6) of the Rules of the United States Court of Federal
Claims (RCFC). See ECF No. 9. On January 5, 2021, after affording plaintiffs two
opportunities to file a response to defendant’s motion to dismiss, the court issued a show
cause order directing plaintiffs to file a response to its show cause order, by January 13,
2021, explaining why this case should not be dismissed for failure to prosecute, pursuant
to RCFC 41(b). See ECF 10 (scheduling order); ECF No. 11 (show cause order). On
January 13, 2021, plaintiffs filed four duplicative filings on the case docket in the court’s
case management/electronic case filing (CM/ECF) system. On January 19, 2021, the
court ruled that plaintiffs’ January 13, 2021 filings were defective and did not comply
with the court’s orders. See ECF No. 16 (second show cause order) Thus, the court
afforded plaintiffs one final opportunity to file, by January 29, 2021, a response to this
court’s January 5, 2021 show cause order stating that “[i]f plaintiffs fail to meet this
deadline, the court will dismiss plaintiffs’ complaint for lack of prosecution, with
prejudice, pursuant to RCFC 41(b).” ECF No. 16 at 1.

        As of the filing of this order, the court has not received any further filings from
plaintiffs in this case. Thus, pursuant to RCFC 41(b), dismissal is warranted for failure to
prosecute. Dismissal under this rule “operates as an adjudication on the merits.” RCFC
41(b). Accordingly, the clerk’s office is directed to ENTER final judgment
DISMISSING plaintiffs’ complaint for failure to prosecute, pursuant to RCFC 41(b),
with prejudice.
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IT IS SO ORDERED.


                            s/Patricia E. Campbell-Smith
                            PATRICIA E. CAMPBELL-SMITH
                            Judge




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